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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION


Dennis Gallipeau                          )         Case No. 3:23-cv-00543-JDA
a/k/a Dennis M. Gallipeau,                )
                                          )
                           Plaintiff,     )
                                          )         OPINION AND ORDER
                  v.                      )
                                          )
Renewal by Andersen LLC,                  )
                                          )
                         Defendant.       )
                                          )


       This matter is before the Court on Defendant’s motion for summary judgment.

[Doc. 90.] In accordance with 28 U.S.C. § 636(b) and Local Civil Rule 73.02(B)(2)

(D.S.C.), this matter was referred to United States Magistrate Judge Molly H. Cherry for

pre-trial proceedings.

       On June 24, 2024, the Magistrate Judge issued a Report and Recommendation

(“Report”) recommending that the motion for summary judgment be granted. [Doc. 104.]

The Magistrate Judge advised the parties of the procedures and requirements for filing

objections to the Report and the serious consequences if they failed to do so. [Id. at 17.]

Plaintiff has not filed objections and the time to do so has lapsed.

       The Magistrate Judge makes only a recommendation to this Court.                The

recommendation has no presumptive weight, and the responsibility to make a final

determination remains with this Court. Mathews v. Weber, 423 U.S. 261, 270–71 (1976).

The Court is charged with making a de novo determination of only those portions of the

Report that have been specifically objected to, and the Court may accept, reject, or modify

the Report, in whole or in part. 28 U.S.C. § 636(b)(1). The Court will review the Report
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only for clear error in the absence of an objection. See Diamond v. Colonial Life &

Accident Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (stating that “in the absence of a

timely filed objection, a district court need not conduct a de novo review, but instead must

only satisfy itself that there is no clear error on the face of the record in order to accept

the recommendation” (internal quotation marks omitted)).

       The Court has reviewed the record in this case, the applicable law, and the Report

of the Magistrate Judge for clear error. Having done so, the Court accepts the Report

and Recommendation of the Magistrate Judge and incorporates it by reference.

Accordingly, Defendant’s motion for summary judgment [Doc. 90] is GRANTED.

       IT IS SO ORDERED.

                                                         s/ Jacquelyn D. Austin
                                                         United States District Judge
July 29, 2024
Columbia, South Carolina


                                NOTICE OF RIGHT TO APPEAL

       The parties are hereby notified of the right to appeal this order pursuant to Rules

3 and 4 of the Federal Rules of Appellate Procedure.




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